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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    Fort Worth Division

 OUTSOURCING FACILITIES
 ASSOCIATION, et al.,

                 Plaintiffs,

         v.
                                                      Civil Action No. 4:24-cv-00953-P
 UNITED STATES FOOD AND DRUG
 ADMINISTRATION, et al.,

                 Defendants.


     Plaintiffs’ Motion for a Temporary Restraining Order and Preliminary Injunction
        Pursuant to Federal Rule of Civil Procedure 65(a) and (b), Plaintiffs Outsourcing Facilities

Association (“OFA”) and North American Custom Laboratories, LLC, doing business as

FarmaKeio Custom Compounding (“FarmaKeio”) hereby move the Court to enter (1) a temporary

restraining order enjoining the Food and Drug Administration (“FDA”) from taking action against

OFA members and FarmaKeio based on their compounding of the drug ingredient Tirzepatide for

14 days while this Court receives briefing and prepares and renders a decision on Plaintiffs’

simultaneously submitted motion for a preliminary injunction, and (2) a preliminary injunction

prohibiting the Food and Drug Administration (“FDA”) from taking action against OFA members

and FarmaKeio based on their compounding of the drug ingredient Tirzepatide pending final

judgment in this case.

        For either a temporary restraining order or a preliminary injunction, Plaintiffs “must

establish (1) a likelihood of success on the merits; (2) a substantial threat of irreparable injury; (3)

that the threatened injury if the injunction is denied outweighs any harm that will result if the

injunction is granted; and (4) that the grant of an injunction will not disserve the public interest.”

Ladd v. Livingston, 777 F.3d 286, 288 (5th Cir. 2015) (quoting Trottie v. Livingston, 766 F.3d 450,
452 (5th Cir. 2014)). As explained in the attached memorandum of law, Plaintiffs have established
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these elements, and preliminary relief is proper to prevent irreparable harm and preserve the status

quo until final judgment can be rendered in this case. This Motion is accompanied by a

memorandum of law in support and an appendix.

        The Court should decline to impose a security requirement under Federal Rule of Civil

Procedure 65(c). The amount of security required “is a matter for the discretion of the trial court,”

and the Fifth Circuit has held district courts have discretion to “require no security at all.” Kaepa,

Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (citing Corrigan Dispatch Company v. Casa

Guzman, 569 F.2d 300, 303 (5th Cir. 1978)). FDA will not suffer financial harm from an injunction

that would make a security requirement proper, so no security requirement is appropriate in this

case.


 Dated: October 8, 2024                               /s/ Ty Doyle
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                                                      forthcoming

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                                     Certificate of Service

       I hereby certify that a true and accurate copy of the foregoing document was filed

electronically (via CM/ECF) on October 8, 2024, and that I caused a copy of the foregoing, and

all accompanying papers, to be served via process server and via U.S. mail on the following:

       United States Food and Drug Administration
       10903 New Hampshire Ave.
       Silver Spring, Maryland 20903

       Dr. Robert M. Califf
       10903 New Hampshire Ave.
       Silver Spring, Maryland 20903


 Dated: October 8, 2024                          /s/ Ty Doyle
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